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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                     ---------

UNITED STATES OF AMERICA,

                      Plaintiff,                     No. 1:07-CR-162

              vs.                                    Hon. Robert Holmes Bell
                                                     Chief District Court Judge
RAMONA MINISEE,

                      Defendant.
                                        /

                                    ORDER FOR DISMISSAL

       The United States having filed a Motion to Dismiss pursuant to Rule 48(a) of the Federal

Rules of Criminal Procedure and by leave of court,

       IT IS HEREBY ORDERED that the Indictment against Defendant is DISMISSED

WITHOUT PREJUDICE.



            21 2008
Dated: May _____,                            /s/ Robert Holmes Bell
                                            ______________________________________
                                            ROBERT HOLMES BELL
                                            Chief Judge
                                            United States District Court
